




Affirmed and Memorandum Opinion filed February 12, 2009








Affirmed
and Memorandum Opinion filed February 12, 2009.

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-08-00306-CR

____________

&nbsp;

DAMITTCUS SHAVONTA GOLDEN, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the 337th District
Court

Harris County, Texas

Trial Court Cause No.
1137717

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

A jury
convicted appellant of possession of a controlled substance with intent to
deliver.&nbsp; Appellant entered a plea of Atrue@ to two enhancement allegations and
the jury sentenced appellant to confinement for thirty-eight years in the
Institutional Division of the Texas Department of Criminal Justice.&nbsp; Appellant
filed a notice of appeal.








Appellant=s appointed counsel filed a brief in
which he concludes the appeal is wholly frivolous and without merit.&nbsp; The brief
meets the requirements of Anders v. California, 386 U.S. 738, 87 S.Ct.
1396 (1967), by presenting a professional evaluation of the record and
demonstrating why there are no arguable grounds to be advanced.&nbsp; See High v.
State, 573 S.W.2d 807, 811-12 (Tex. Crim. App. 1978).

A copy
of counsel=s brief was delivered to appellant.&nbsp; Appellant was advised of the right
to examine the appellate record and file a pro se response.&nbsp; See Stafford v.
State, 813 S.W.2d 503, 510 (Tex. Crim. App. 1991).&nbsp; As of this date, more
than sixty days has elapsed and no pro se response has been filed.

We have
carefully reviewed the record and counsel=s brief and agree the appeal is
wholly frivolous and without merit.&nbsp; Further, we find no reversible error in
the record.&nbsp; A discussion of the brief would add nothing to the jurisprudence
of the state.&nbsp; We are not to address the merits of each claim raised in an Anders
brief or a pro se response when we have determined there are no arguable
grounds for review.&nbsp; See Bledsoe v. State, 178 S.W.3d 824, 827-28 (Tex.
Crim. App. 2005)

Accordingly,
the judgment of the trial court is affirmed.

&nbsp;

PER CURIAM

&nbsp;

&nbsp;

Panel consists of Justices Frost, Brown, and Boyce. 

Do Not Publish C Tex. R. App. P.
47.2(b).





